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 8                              UNITED STATES DISTRICT COURT

 9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                    WESTERN DIVISION

11     UNITED STATES OF AMERICA,
                                               Case No. 2:21-cv-07155-RSWL-MRWx
12                Plaintiff,
                                               ORDER EXTENDING TIME TO RESPOND TO
13                     v.                      COMPLAINT

14     $240,000.00 IN U.S. CURRENCY AND
       MISCELLANEOUS PRECIOUS ITEMS,
15
                  Defendants.
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17           Pursuant to the stipulation and request of the parties, and good
18     cause appearing therefor, IT IS HEREBY ORDERED that potential
19     claimant Zen Alldredge’s time to file a claim is hereby extended from
20     September 22, 2022 to November 7, 2022 and to file an answer or other
21     responsive pleading to the complaint is extended from from October
22     13, 2022 to November 28, 2022.
23     Dated: September 22, 2022
24
                                           THE HONORABLE RONALD S.W. LEW
25                                         UNITED STATES DISTRICT JUDGE
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